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                        UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division
                       Case Number: 05-20849-CR-MARTINEZ-BROWN

  UNITED STATES OF AMERICA,

  vs.

  LUIS JACINTO MARTI,
        Defendant.
  _____________________________________/

  ORDER DENYING DEFENDANT DR. LUIS MARTI'S MOTION FOR NEW TRIAL, AN
     EVIDENTIARY HEARING ON THAT MOTION AND FOR AN ELLSWORTH
        CERTIFICATION AND DENYING DEFENDANT MARTI’S MOTION
                  FOR PROMPT EVIDENTIARY HEARING

        THIS CAUSE came before the Court upon Defendant Dr. Luis Marti's Motion for New

 Trial, an Evidentiary Hearing on that Motion and for an Ellsworth Certification (D.E. No. 284),

 filed on March 10, 2008 and Defendant Marti’s Motion for Prompt Evidentiary Hearing on His

 Motion for New Trial Filed on March 10, 2008 (D.E. No. 294), filed on April 23, 2008. On

 November 10, 2005, Defendant Dr. Luis Marti ("Defendant" or "Marti") was indicted on one

 count of conspiracy to defraud the United States, commit health care fraud, and pay and receive

 kickbacks and fifteen counts of health care fraud. (D.E. No. 2). The indictment also charges the

 same violations against Defendants Onelio S. Baez ("Baez"), Juan Carlos Mateo ("Mateo"), and

 Jorge Arnaldo Valido ("Valido"). Before trial, these other defendants entered guilty pleas. The

 Government alleged that Marti and these other Defendants were part of a Medicaid fraud scheme

 in which Medicaid recipients were induced through payments of kickbacks and bribes to visit

 particular physicians and medical clinics. Physicians at these particular clinics would prescribe

 unnecessary and expensive medications, such as Intravenous Immune Globulin ("IVIG") drugs,

 which are drugs commonly prescribed for HIV-positive or AIDS patients. These prescriptions,

 paid for by Medicaid, would be picked up at a particular pharmacy, and then the drugs would be
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 resold to other pharmacies.

        Marti was charged as one of the doctors who issued a number of these prescriptions. Baez

 was charged as the organizer of the scheme. Mateo was charged as a patient recruiter and Valido,

 another doctor, was charged for issuing the prescriptions, and he was also charged as the owner

 and operator of the Charitte Medical Center where Marti once worked as a physician. A jury trial

 was held on these charges against Marti in December of 2006. On December 21, 2006, the jury

 found Marti guilty of all counts. (D.E. No. 147).

        Following trial, Marti filed a Motion for Judgment of Acquittal on All Counts (D.E. No.

 169) and a Motion for New Trial (D.E. No. 170). On March 20, 2007, the Court denied both of

 these motions. (D.E. No. 201). On March 26, 2007, Marti was sentenced to a term of twenty-

 eight months on all sixteen counts to be served concurrently, but he was permitted to remain out

 on bond pending the duration of his appeal. (D.E. Nos. 206 and 210). Marti appealed his

 conviction and sentence. On March 10, 2008, Marti filed his second motion for new trial, seeking

 a certification to the appellate court that his motion should be granted and an evidentiary hearing.

 (D.E. No. 284). On April 23, 2008, he filed another motion requesting an evidentiary hearing on

 this motion for new trial. (D.E. No. 294). After careful consideration and for the reasons set forth

 below, the Court denies these motions.

        Defendant has filed this motion for new trial pursuant to Federal Rule of Criminal

 Procedure 33, arguing that there is newly discovered evidence which warrants a new trial.

 “‘Motions for a new trial based on newly discovered evidence are highly disfavored in the

 Eleventh Circuit and should be granted only with great caution. Indeed, the defendant bears the

 burden of justifying a new trial.’” United States v. Campa, 459 F.3d 1121, 1151 (11th Cir. 2006)

 (quoting United States v. Devila, 216 F.3d 1009, 1015-16 (11th Cir. 2000)). A new trial based on



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 newly discovered evidence is warranted only if: “(1) the evidence was in fact discovered after

 trial; (2) the defendant exercised due care to discover the evidence; (3) the evidence was not

 merely cumulative or impeaching; (4) the evidence was material; and (5) the evidence was of such

 a nature that a new trial would probably produce a different result.” United States v. Garcia, 13 F.

 3d 1464, 1472 (11th Cir. 1994). “The failure [of the movant] to satisfy any one of these elements

 is fatal to a motion for new trial.” United States v. Lee, 68 F.3d 1267, 1274 (11th Cir. 1995).

 Because Marti fails to sufficiently establish the fourth and fifth elements under this conjunctive

 test, this Court denies his motion for new trial.

        Marti moves for a new trial based on nine documents that were brought to his attention

 after Mr. Mark Starinsky, an auditor from the United States Department of Health and Human

 Services, Officer of the Inspector General, came to his house on January 28, 2008 and showed

 him a document with the name “Floridian Medical Supply, Inc.” and a North Miami Beach,

 Florida address at the top. Each of the nine documents had Floridian Medical Supply, Inc. at the

 top and each was purported to be signed by Dr. Marti. See (D.E. No. 284, Exh. A, Questioned

 Documents). The documents are dated beginning on December 5, 2005 and ending July 10, 2006.

  Id. Seven of the documents are Patient Information Forms in which the physician certifies that

 the listed items or equipment are medically necessary for the patient. Id. The other two

 documents are Statements of Ordering Physician where the signing physician appears to be

 certifying that the specific listed equipment is necessary for a specific patient. Id.

        Marti argues that he has no affiliation with Floridian Medical Supply, Inc. and he has not

 heard of or met any of the patients named in the documents. Marti hired Mr. F. Harley Norwich, a

 handwriting expert, to perform a handwriting analysis of the signatures on each of the nine

 documents. Mr. Norwich concluded that the signatures on these nine documents are forgeries.



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           Marti argues that “[t]his new evidence is powerful evidence supporting his theory of

 defense in this case that someone forged his signature on the IVIG prescriptions without his

 authorization.” Id. This Court disagrees. Marti has not offered any evidence that these nine

 documents relate to this case or the acts charged in the indictment. At trial Marti argued that his

 signature was forged on a number of the prescriptions at issue; however, Marti has not argued that

 these new documents were forged by the same person as the alleged forgerer in this case.1

 Essentially, this new evidence could demonstrate that someone forged Marti’s name in connection

 with a different type of Medicaid fraud scheme four years after the conduct for which Marti was

 indicted occurred. The connection of these documents to this case is tenuous at best.

 Accordingly, Marti fails to meet his burden of demonstrating that this evidence is both material

 and of such a nature that a new trial would probably produce a different result.2 Therefore, it is

 hereby:

           ORDERED and ADJUDGED that

           1.     Defendant Dr. Luis Marti's Motion for New Trial, an Evidentiary Hearing on that



            1
          Marti argued at trial that at least some of the documents were forged by his co-defendant,
  Valido. Marti has not made this allegation with respect to these nine new documents.

            2
           Marti has also requested an evidentiary hearing and an Ellsworth certification. However,
  the Court finds neither is warranted. First, the Court finds that an evidentiary hearing is not
  necessary, especially as there are no disputed facts with regard to the newly discovered evidence.
  See United States v. Spuza, 194 Fed. Appx. 671, 676 (11th Cir. 2006) (“A defendant is not
  entitled to an evidentiary hearing for a motion for a new trial if ‘the acumen gained by a trial
  judge over the course of the proceedings [made him] well qualified to rule on the [evidence]
  without a hearing.’”) (quoting United States v. Schlei, 122 F. 3d 944, 994 (11th Cir. 1997)).
          Second, Marti has requested an Ellsworth certification pursuant to United States v.
  Ellsworth, 814 F. 2d 613 (11th Cir. 1987), which states with regard to a motion for a reduction of
  sentence that the “proper procedure after an appeal is taken is for . . . [the] motion to be filed
  with the district court; the district court may either deny the motion on its merits or certify that
  the motion should be granted in order to afford the appellate court jurisdiction to entertain a
  motion to remand.” Because the Court is denying the motion, it will not issue a certification.

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 Motion and for an Ellsworth Certification (D.E. No. 284) is DENIED.

        2.     Defendant Marti’s Motion for Prompt Evidentiary Hearing on his Motion for New

 Trial Filed on March 10, 2008 (D.E. No. 294) is DENIED.

        DONE AND ORDERED in Chambers at Miami, Florida, this 30 day of April, 2008.

                                                   ____________________________________
                                                   JOSE E. MARTINEZ
                                                   UNITED STATES DISTRICT JUDGE

 Copies provided to:
 Magistrate Judge Brown
 All Counsel of Record




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